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 PEARSON, J.

                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

 UNITED STATES OF AMERICA,                        )
                                                  )     CASE NO. 5:12-cr-00034-002
                Plaintiff,                        )
                                                  )
                v.                                )     JUDGE BENITA Y. PEARSON
                                                  )
 DESHAWN ANTONIO GALL,                            )
                                                  )
                Defendant.                        )     ORDER



         This matter is before the Court upon Magistrate Judge Kathleen B. Burke’s Report and

 Recommendation (“R&R”) that the Court accept Defendant Deshawn Antonio Gall’s

 (“Defendant”) pleas of guilty and enter findings of guilty against Defendant. ECF No. 16.

        On January 18, 2012, the Government filed an Indictment against Defendant alleging one

 count in violation of 18 U.S.C. § 2113(a) and (d), armed bank robbery, and one count in violation

 of 19 U.S. C. § 924(c)(1)(A)(iii) and Section 2, use of a firearm during a crime of violence. ECF

 No. 7. At arraignment on January 26, 2012, before Magistrate Judge Kathleen B. Burke,

 Defendant entered not guilty pleas as to Counts 1 and 2 of the indictment. Thereafter, the Court

 was notified of Defendant’s intent to enter a guilty plea and issued an order referring the matter

 to Magistrate Judge Burke for the purpose of receiving Defendant’s guilty plea. ECF No. 10.

        A hearing was held on March 16, 2012 before Magistrate Judge Burke during which

 Defendant consented to the order of referral (ECF No. 15) and entered guilty pleas as to Count 1

 and 2 of the Indictment. Magistrate Judge Burke received Defendant’s guilty pleas and issued a
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 report recommending that this Court accept Defendant Gall’s plea and enter a finding of guilty.

 ECF No. 16.

         The time limitation to file objections to the Magistrate Judge’s report and

 recommendation has expired and neither party has filed objections or requested an extension of

 time.

         Fed. R. Crim. P. 11(b) states:

         Before the court accepts a plea of guilty or nolo contendere, the defendant may be
         placed under oath, and the court must address the defendant personally in open
         court. During this address, the court must inform the defendant of, and determine
         that the defendant understands, the following: (A) the government’s right, in a
         prosecution for perjury or false statement, to use against the defendant any
         statement that the defendant gives under oath; (B) the right to plead not guilty, or
         having already so pleaded, to persist in that plea; (C) the right to a jury trial; (D)
         the right to be represented by counsel—and if necessary have the court appoint
         counsel—at trial and at every other stage of the proceeding; (E) the right at trial to
         confront and cross-examine ad-verse witnesses, to be protected from compelled
         self-incrimination, to testify and present evidence, and to com-pel the attendance
         of witnesses; (F) the defendant’s waiver of these trial rights if the court accepts a
         plea of guilty or nolo contendere; (G) the nature of each charge to which the
         defendant is pleading; (H) any maximum possible penalty, including
         imprisonment, fine, and term of supervised release; (I) any mandatory minimum
         penalty; (J) any applicable forfeiture; (K) the court’s authority to order restitution;
         (L) the court’s obligation to impose a special assessment; (M) in determining a
         sentence, the court’s obligation to calculate the applicable sentencing-guideline
         range and to consider that range, possible departures under the Sentencing
         Guidelines, and other sentencing factors under 18 U.S.C. §3553(a); and (N) the
         terms of any plea-agreement provision waiving the right to appeal or to
         collaterally attack the sentence.

         The undersigned has reviewed the transcript and the Magistrate Judge’s Report and

 Recommendation and finds, that in her careful and thorough proceeding, the Magistrate Judge

 satisfied the requirements of Fed. R. Crim. P. 11 and the United States Constitution. Defendant

 was placed under oath and determined to be competent to enter a plea of guilty. Defendant was
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 made aware of the charges and consequences of conviction and his rights and waiver thereof.

 The Magistrate Judge also correctly determined that the defendant had consented to proceed

 before the Magistrate Judge and tendered his pleas of guilty knowingly, intelligently and

 voluntarily. Furthermore, the Magistrate Judge also correctly found that there was an adequate

 factual basis for the plea of guilty.

         Upon de novo review of the record, the Magistrate Judge’s Report and Recommendation

 is adopted. The Defendant is adjudged guilty of Counts 1and 2 of the Indictment, armed bank

 robbery in violation of 18 U.S.C. § 2113(a) and (d) and use of a firearm during a crime of

 violence in violation of 19 U.S. C. § 924(c)(1)(A)(iii) and Section 2.



         IT IS SO ORDERED.


  May 15, 2012                                   /s/ Benita Y. Pearson
 Date                                          Benita Y. Pearson
                                               United States District Judge
